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  9                       UNITED STATES DISTRICT COURT
 10          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12 HOLLYWOOD INNOVATIONS                      Case No. 2:21-cv-9423
    GROUP LLC,
 13                                            DEFENDANT NETFLIX, INC.’S
                Plaintiff,                     NOTICE OF MOTION AND
 14                                            MOTION TO DISMISS
          vs.                                  COMPLAINT
 15
    NETFLIX, INC., a Delaware                  Judge:   Hon. André Birotte Jr.
 16 Corporation, ZIP CINEMA CO. LTD.,          Date:    March 4, 2022
    a South Korean Corporation, KAKAO          Time:    10:00 a.m.
 17 ENTERTAINMENT CORP., a South               Ctrm:    7B
    Korean Corporation, PERSPECTIVE
 18 PICTURES CO. LTD, a South Korean           Filed Concurrently: [1] Declaration of
    Corporation, and Does 1-10, inclusive,     John L. Schwab; [2] Declaration of
 19                                            Kyo-Hwa Chung; [3] [Proposed] Order;
                Defendants.                    [4] Request for Judicial Notice; [5]
 20                                            Application for Leave to File Under
                                               Seal
 21
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  1 I.      INTRODUCTION
  2         Plaintiff claims the right to produce and distribute an original English-
  3 language motion picture based on a screenplay titled Devour. Compl. ¶ 3. And
  4 Plaintiff did just that. After its film failed, Plaintiff sued Netflix for copyright
  5 infringement. But the film Netflix released was not an original English-language
  6 motion picture based on Devour. It was an original Korean-language movie based
  7 on the screenplay called #Saraitda, that is also available dubbed, i.e., translated into
  8 other languages. Plaintiff does not allege it has any rights to control the translation
  9 of the Korean-language movie. Plaintiff cannot make that allegation, because the
 10 contracts that the Complaint repeatedly references—but conspicuously fails to
 11 attach—make it clear that Plaintiff has no such rights. By contrast, Netflix has the
 12 right to distribute the Korean-language film in “all languages.” Because Plaintiff
 13 does not have an exclusive right that it claims has been infringed, Plaintiff’s
 14 copyright claim must be dismissed.
 15         Plaintiff’s claim turns on the rights conveyed in a contract that neither Netflix
 16 nor Plaintiff is a party to. Defendants Zip Cinema and Perspective Pictures, movie
 17 production companies based in South Korea (jointly, the “Korean Producers”),
 18 obtained the rights to make #Saraitda from Devour’s author, Matt Naylor. The
 19 agreement between Naylor and the Korean Producers (the “Naylor/Zip Agreement”)
 20 is explicitly governed by Korean law, which provides that, unless the parties
 21 expressly stipulate otherwise, the right to “exploit [an author’s] work by means of
 22 cinematization” includes the right “to exploit the translation of a cinematographic
 23 work in the same manner as the cinematographic work.” See Declaration of Kyo-
 24 Hwa (Liz) Chung In Support of Netflix, Inc.’s Motion to Dismiss (“Chung Decl.”)
 25 Ex A at 1–2 (emphasis added). The Naylor/Zip Agreement does not reverse that
 26 presumption. And that requires that Plaintiff’s Complaint be dismissed with
 27 prejudice.
 28

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  1         There are two additional reasons for dismissal. First, this is an appropriate
  2 case for exercise of the doctrine of forum non conveniens. That doctrine calls for
  3 the Court to balance private interest factors “affecting the convenience of the
  4 litigants,” and public interest factors “affecting the convenience of the forum” to
  5 determine whether dismissal is warranted. Piper Aircraft Co. v. Reyno, 454 U.S.
  6 235, 241 (1981). Both sets of factors favor litigating this case, if at all, in Korea
  7 rather than the United States. Three out of the four Defendants are Korean entities
  8 who have not appeared, have not been served, and may well not be subject to this
  9 Court’s jurisdiction. See Goodyear Dunlop Tires Operations, S.A. v. Brown, 564
 10 U.S. 915, 919 (2011) (no specific jurisdiction over foreign corporation unless
 11 “activity or an occurrence that takes place in the forum State” underlies the
 12 controversy in suit; no general jurisdiction unless “affiliations with the State are so
 13 ‘continuous and systematic’ as to render them essentially at home in the forum
 14 State”).
 15         All of the Defendants, including Netflix, trace their rights in #Saraitda to the
 16 Naylor/Zip Agreement, which is expressly subject to Korean law and which
 17 provides for exclusive jurisdiction of disputes in Korean courts. Key witnesses and
 18 documents—all beyond this Court’s subpoena power—are located in Korea. And
 19 Netflix will be severely prejudiced if it has to defend this case without access to that
 20 evidence. Plaintiff no doubt would prefer to litigate in the United States, but the
 21 inconvenience to the legal process and all other parties is “out of all proportion to
 22 plaintiff’s convenience,” making this an appropriate case for forum non conveniens.
 23 Piper Aircraft Co., 454 U.S. at 241.
 24         Alternatively, the Complaint should be dismissed for failure to join necessary
 25 and indispensable parties. See Fed. R. Civ. P. 12(b)(7); 19(b). Those absent parties
 26 are the Korean Producers, whom Plaintiff has named but not served; and another
 27 Korean entity, which licensed the rights to Netflix but is not named as a defendant
 28 here. Any final decision in this case would “affect[] [those absent parties’]

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  1 interest[s],” i.e., their contractual rights; and would “leav[e] the controversy in such
  2 a condition that its final termination may be wholly inconsistent with equity and
  3 good conscience.” Shields v. Barrow, 58 U.S. 130, 139 (1854).
  4 II.     BACKGROUND
  5         A.     The Korean Producers Acquire The Rights To Produce #Saraitda
                   And Distribute It Throughout The World
  6
  7         Matt Naylor is the author of the Devour screenplay. Compl. ¶ 13. 1 Devour is
  8 a zombie-apocalypse story that describes “a young man’s struggle for survival and
  9 the resulting mayhem as he is forced to self-isolate in his urban apartment during the
 10 outbreak of a global viral pandemic.” Id.
 11         In July 2018, Naylor and the Korean Producers entered into the “Naylor/Zip
 12 Agreement.” Id. ¶ 15; RJN Ex. B. As Plaintiff alleges, the Agreement gave the
 13 Korean Producers the right “to produce … a ‘single, feature-length motion picture in
 14 the Korean language … based on the [Devour] [s]cript,’” i.e., #Saraitda. Compl.
 15 ¶ 15; RJN Ex. B § 1. But the Naylor/Zip Agreement did much more than that. A
 16 number of additional provisions fatally undermine Plaintiff’s claim in this case.
 17         First, the Naylor/Zip Agreement
 18
 19                                              RJN Ex. B § 1.
 20
 21
 22
      1
        The facts are taken from the Complaint’s well-pleaded factual allegations and the
      documents of which the Court may and should take judicial notice. As explained in
 23   Netflix’s concurrently filed Request for Judicial Notice (“RJN”), the Complaint
 24   incorporates by reference several agreements that form the basis for each side’s
      chain of title, in addition to Plaintiff’s initial demand letter. Because the Complaint
 25   references and relies on these documents, and their authenticity is not subject to
 26   dispute, this Court may review the documents in their entirety and “assume that
      [their] contents are true for purposes of a motion to dismiss under Rule 12(b)(6).”
 27   United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003); Knievel v. ESPN, 393
 28   F.3d 1068, 1076 (9th Cir. 2005).

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   1        Second, while the Naylor/Zip Agreement reserved to Naylor
   2                                                         the Agreement further provided
   3 that
   4
   5
   6                                                                                  Id.
   7 § 1(a). In other words,
   8
   9
  10
  11        Third, the parties agreed that Naylor
  12
  13                                                Id. This reservation of a right by Naylor
  14 did not concern #Saraitda.
  15
  16                                                             E.g., id. §§ 1, 3.
  17
  18                                                   As discussed below, that is the right
  19 Naylor conveyed to Plaintiff’s predecessor and that Plaintiff fully exercised when it
  20 created its original English-language motion picture based on Devour.
  21        Fourth, the Naylor/Zip Agreement expressly provides that its terms will be
  22                                                                                  Id. § 18.
  23 As discussed below, the controlling Korean law on the scope of Naylor’s rights
  24 grant is a reason the Complaint fails as a matter of law.
  25        Notably, Plaintiff did not attach to its Complaint the Naylor/Zip Agreement or
  26 any of the other agreements that the Complaint relies on and references. Netflix has
  27 attached the various agreements to its RJN.
  28

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   1         B.     Netflix Acquires The Rights To Translate And Distribute #Saraitda
   2         The Korean Producers licensed #Saraitda to a Korean distributor, Lotte
   3 Entertainment. Lotte, in turn, licensed the film to Netflix, granting Netflix the rights
   4 to distribute #Saraitda throughout the
   5                                                           Compl. ¶ 28; see also RJN Ex.
   6 F at 2. Netflix then translated the film into other languages. Compl. ¶ 32. The
   7 Korean-language movie, #Saraitda, called #Alive in English, was released on
   8 Netflix beginning in September 2020. Id.
   9         C.     Plaintiff Acquires The Rights To Produce An Original English-
                    Language Motion Picture: Alone
  10
  11         Plaintiff alleges that it also acquired rights based on Naylor’s Devour
  12 screenplay, including the right to produce a new English-language film based on the
  13 script. Plaintiff first alleges that Naylor and Rabih Aridi entered into an agreement
  14 as of April 1, 2019 (“Aridi Agreement”). Compl. ¶ 16. The Aridi Agreement,
  15 which the Court may judicially notice, provided that Naylor granted Aridi
  16
  17               RJN. Ex. C § 1 (emphasis added). The Excluded Rights provision thus
  18 expressly limited the scope of rights Aridi acquired. Under that provision, Naylor
  19 did not grant, and Aridi did not acquire,
  20
  21                                                   Id. § 2(a).
  22         The Complaint alleges that the Aridi Agreement was followed by two
  23 assignments. First, Aridi assigned to Devour LLC “all of [his] right, title, and
  24 interest in and to the [Aridi] Agreement.” Compl. ¶ 17. Devour LLC, in turn,
  25 granted to Plaintiff “‘all right, title, and interest in and to’ an English language
  26 movie based on the Script[.]” Id. ¶ 18.
  27
  28                                              See RJN Ex. D at 3; Ex. E at 2.

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   1        Plaintiff then produced its own English language film, Alone, based on the
   2 Devour screenplay. Id. ¶ 20. Plaintiff alleges Alone was a commercial failure.
   3 Compl. ¶¶ 35–36.
   4        D.     Plaintiff Demands Netflix “Cease And Desist The Dubbing” of
                   #Saraitda
   5
   6        On September 18, 2020, shortly after #Alive was released on the Netflix
   7 platform, Plaintiff sent Netflix a demand letter, Compl. ¶ 38, insisting that Netflix
   8 “permanently cease and desist the dubbing of [#Saraitda] in any language and the
   9 distribution of [#Saraitda] in any language other than Korean.” RJN Ex. A at 3.
  10 Unlike its Complaint, Plaintiff’s demand letter attached the various agreements,
  11 including the Naylor/Zip Agreement. It is not surprising that Plaintiff would have
  12 the Naylor/Zip Agreement, given that Aridi, who is Plaintiff’s CEO, negotiated with
  13 Naylor for rights that were expressly limited by the Naylor/Zip Agreement, and then
  14 subsequently assigned those rights to Plaintiff.
  15        Like the Complaint, the demand letter claimed that Plaintiff’s purported rights
  16 in the Devour screenplay prohibited Netflix from translating #Saraitda into English
  17 (as #Alive) or any other language. Netflix kept #Alive on its platform.
  18        E.     Plaintiff Sues Netflix, Zip, Perspective And Kakao Entertainment
  19        Plaintiff filed its Complaint on December 6, 2021. Dkt. 1. The Complaint
  20 purports to state a claim for copyright infringement against Netflix, the Korean
  21 Producers, and Kakao Entertainment Corp., a Korean company that Plaintiff alleges
  22 succeeded to Zip Cinema’s interests. Compl. ¶ 10. The Complaint does not allege
  23 that Zip Cinema or Kakao have any presence in the United States, id. ¶¶ 9–10, and
  24 only alleges such a presence for Perspective on information and belief, id. ¶ 11.
  25 Despite acknowledging that Netflix licensed its rights to #Saraitda from the well-
  26 known Korean conglomerate Lotte Entertainment, see id. ¶ 28, Plaintiff did not
  27 name Lotte as a Defendant. See Dkt. 1.
  28

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   1         To date, Netflix’s understanding is that none of the Korean codefendants have
   2 appeared, none have been served, and none have a presence in the United States
   3 making them subject to service here. Netflix met and conferred with Plaintiff’s
   4 counsel on January 26, 2022. Declaration of John L. Schwab In Support of Netflix,
   5 Inc.’s Motion to Dismiss ¶ 3. In addition to discussing the instant Motion, Plaintiff
   6 explained that it was attempting to serve the Korean codefendants in Korea via
   7 Hague processes. Id. Netflix requested an extension of time so that Plaintiff could
   8 attempt to effect service on the other named Defendants, and all potential motions
   9 could be briefed and submitted to the Court at the same time. Id. Plaintiff declined.
  10 Id. ¶ 5.
  11 III.    ARGUMENT
  12         A.    The Complaint Should Be Dismissed Because Plaintiff Does Not,
                   and Cannot, Allege That It Owns The Exclusive Right To
  13               Translate #Saraitda.
  14         To plead a copyright infringement claim, a plaintiff must plausibly allege that
  15 it owns or controls an exclusive right under copyright, and that the defendant has
  16 infringed that right. See, e.g., UMG Recordings Inc. v. Augusto, 628 F.3d 1175 (9th
  17 Cir. 2011); 17 U.S.C. 501(b) (authorizing the “owner of an exclusive right under a
  18 copyright … to institute an action for any infringement of that particular right[.]”)
  19 (emphasis added). Ownership of an exclusive right is “a necessary predicate for
  20 [statutory] standing to bring the claim” and therefore must be properly pled in a
  21 complaint. DRK Photo v. McGraw-Hill Global Educ. Holdings, LLC, 870 F.3d 978,
  22 986 (9th Cir. 2017); see also Minden Pictures, Inc. v. John Wiley & Sons, Inc., 795
  23 F.3d 997, 1001 (9th Cir. 2015). The court need not “accept any unreasonable
  24 inferences or assume the truth of legal conclusions cast in the form of factual
  25 allegations.” Brown v. Elec. Arts Inc., 724 F.3d 1235, 1248 (9th Cir. 2013).
  26
  27
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   1                1.     Plaintiff Does Not And Cannot Allege Ownership of an
                           Infringed Right
   2
   3          Plaintiff has failed to plead that it holds an exclusive right that Netflix has
   4 infringed and, therefore, has failed to plead it has standing to pursue an infringement
   5 claim.
   6                       (a)    Plaintiff Does Not Allege Ownership Of The Right To
                                  Translate #Saraitda
   7
   8          Plaintiff alleges that Netflix (and other Defendants) infringed by translating
   9 #Saraitda into “English” and “other non-Korean languages.” See, e.g., Compl. ¶ 4
  10 (contending that Netflix “had no rights to distribute Saraitda dubbed into English or
  11 any other non-Korean language”); id. ¶ 32 (“Netflix … created a high-quality
  12 dubbed and subtitled version of [Saraitda] in English”). For Plaintiff to have
  13 standing to complain about this conduct, Plaintiff must allege that it holds the
  14 exclusive right to translate #Saraitda, and to distribute the translated film. Plaintiff
  15 does not plead exclusive ownership of that right.
  16                       (b)     Plaintiff Cannot Plead Ownership Of The Right To
                                   Translate #Saraitda Because, Under Korean Law, Naylor
  17                               Conveyed That Right To Zip/Perspective
  18          Plaintiff concedes that its own rights derive from the rights Aridi allegedly
  19 acquired from Naylor. But Aridi could only acquire rights that Naylor had to give
  20 as of April 1, 2019, the date of the Aridi Agreement. The Aridi Agreement
  21 specifically excluded from the transfer to Aridi
  22                                                                RJN Ex. C § 2(a).
  23 Plaintiff is well aware of that limitation: Aridi is the CEO of Plaintiff, and
  24
  25           See RJN Ex. E at 2. Given that carveout, Naylor could not grant any rights
  26                                                         —which includes both the rights
  27 Naylor conveyed to the Korean Producers
  28                             —when he granted Aridi the rights that Plaintiff now

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   1 purports to enforce. Compl. ¶¶ 16–18; RJN Ex. C at §2(a). In short, Plaintiff can at
   2 most plead that it controls all rights that are not set forth in the Naylor/Zip
   3 Agreement.
   4         That creates an insurmountable problem for Plaintiff, because Naylor granted
   5 the Korean Producers the right to translate #Saraitda as a matter of Korean law,
   6 which controls the Naylor/Zip Agreement. As Plaintiff alleges, the Naylor/Zip
   7 Agreement gave the Korean Producers the right to produce a
   8
   9                                                    that picture. Compl. ¶ 15; RJN Ex. B
  10 §1. Naylor and the Korean Producers further consented
  11
  12                                                   RJN Ex. B § 18. This Court may
  13 consider the content of Korean law on a motion to dismiss, including through
  14 declarations, and it is dispositive here. See Fed. R. Civ. P. 44.1; de Fontbrune v.
  15 Wofsy, 838 F.3d 992, 1000 (9th Cir. 2016) (“courts do not transgress the broad
  16 boundaries established by Rule 44.1 when considering foreign legal materials—
  17 including expert testimony and declarations—at the pleading stage”).
  18         Article 99 of the Korean Copyright Act provides that “[i]f the holder of
  19 author’s economic right authorizes another person to exploit his/her work by means
  20 of cinematization, such authorization shall be presumed to include,” among other
  21 rights, “the right to exploit the translation of a cinematographic work in the same
  22 manner as the cinematographic work,” unless “otherwise expressly stipulated.”
  23 Chung Decl. Ex. A at 1–2. Thus, the default rule under Korean law is that the right
  24 to translate a motion picture from the Korean language into other languages is
  25 presumed to be transferred with the right to produce the motion picture, unless the
  26 parties expressly agree that those translation rights are not transferred.
  27
  28

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   1                        (c)    Plaintiff Cannot Plead That Naylor Reserved The Right to
                                   Translate #Saraitda
   2
               In order to plead that it owns the exclusive right to translate #Saraitda,
   3
       Plaintiff must plead that Naylor expressly reserved those rights for himself under
   4
       Korean law and then later transferred them to Aridi.
   5
               Plaintiff cannot make that allegation. The Naylor/Zip Agreement contains no
   6
       stipulation reserving to Naylor the right to translate the Korean-language movie that
   7
       he authorized the Korean Producers to create. The Agreement expressly reserves
   8
       for Naylor
   9
                                                          RJN Ex. B § 1(a). Plainly, the
  10
       reservation of those rights does nothing to reverse the Korean-law presumption that
  11
       the Korean Producers acquired not only the right to create and distribute #Saraitda,
  12
       but to translate it into languages other than Korean.
  13
               The Naylor/Zip Agreement also
  14
  15
  16
  17
                      To be sure, the Complaint appears to suggest that the translation of
  18
       #Saraitda is a “derivative right[]” of Naylor’s copyright in the screenplay. Compl.
  19
       ¶ 15. But #Alive is a translation of the Korean-language movie, #Saraitda, not of
  20
       the screenplay, Devour. And Plaintiff does not, and cannot, allege that anything
  21
       about                                                    is an express stipulation to
  22
       reverse the Korean-law presumption regarding translation rights. Indeed, the
  23
       Naylor/Zip Agreement’s
  24
                                                                   As noted, the Naylor/Zip
  25
       Agreement provides as examples
  26
                                             RJN Ex. B § 1(a). All of those involve the
  27
       creation of new works, not the translation of the movie that the Korean Producers
  28

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   1 acquired the right to create and distribute. Thus, the                 provision
   2 does nothing to reverse the Korean-law presumption on translations.
   3        The Naylor/Zip Agreement also provides that Naylor
   4
   5                                                              RJN Ex. B § 1(a). This
   6 provision, too, does nothing to reverse the Korean-law presumption about the rights
   7 Naylor granted to the Korean Producers. The provision says nothing about
   8 #Saraitda, which the Agreement repeatedly refers to as the “Korean Picture.” Id.
   9 §§ 1, 3, 4. And the provision has nothing to do with translating that movie (or any
  10 other), but instead speaks of the right
  11
  12          In short, nothing in the Naylor/Zip Agreement reverses the Korean-law
  13 presumption about translation rights, much less does so expressly.
  14        Not only is the Naylor/Zip Agreement lacking any express reversal of the
  15 Korean law presumption. The Agreement has numerous provisions that confirm the
  16 Korean Producers acquired not only the right to produce and distribute #Saraitda
  17 but to translate it. For example, Naylor granted the Korean Producers the right to
  18 exploit #Saraitda
  19                                      RJN Ex. B § 1. Those rights are entirely
  20 consistent with the Korean Producers having the authority to translate #Saraitda into
  21 other languages. Indeed, the right would be meaningless without it, since an
  22 untranslated Korean-language motion picture would have little, if any, commercial
  23 appeal in countries with insubstantial numbers of Korean-speakers.
  24        In addition, the Naylor/Zip Agreement requires the Korean Producers to
  25 provide Naylor with
  26
  27
  28                             RJN Ex. B § 6. And the Naylor/Zip Agreement expressly

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   1 reserves to Naylor
   2                                                          RJN Ex. B § 4(a). If #Saraitda
   3 could not be translated at all, there
   4                                   Likewise, the Naylor/Zip Agreement
   5
   6                     an additional provision that makes little sense if the Producers
   7 lacked translation rights to their work. RJN Ex. B §13(a).
   8         In sum, the Complaint and the Agreements it incorporates make it implausible
   9 that Plaintiff has any right concerning the translation of #Saraitda. Absent such a
  10 right, Plaintiff’s copyright infringement claim fails as a matter of law.
  11                2.      Plaintiff’s Claim of Rights In The Devour Screenplay Does Not
                            Give It Standing To Allege Infringement in the Translation of
  12                        #Saraitda
  13         Because Plaintiff cannot plead that it owns a right purportedly infringed by
  14 the translation of #Saraitda, the Complaint focuses on ownership of other rights.
  15 Plaintiff’s assertions fundamentally misunderstand copyright law.
  16         First, Plaintiff contends that it holds the right to produce “an English-
  17 language movie based on the [Devour] Script.” See Compl. ¶ 18. Even assuming
  18 that is true, it is black letter law that an exclusive owner of some, but not all, rights
  19 to a work “may not sue for infringement of rights as to which he is not licensed,
  20 even if the subject matter of the infringement is the work as to which he is a
  21 licensee.” 3 Nimmer on Copyright § 12.02 (2021). Thus, “an exclusive licensee of
  22 legitimate stage rights may not claim infringement by reason of unauthorized
  23 production of a motion picture based on the same work, even though competition
  24 from that motion picture might prove injurious to the licensee.” Id.
  25         That rule applies here. Plaintiff admits, as it must, that the Naylor/Zip
  26 Agreement gave the Korean Producers the right to produce #Saraitda, a Korean film
  27 based on the Devour screenplay. Compl. ¶ 15. And Plaintiff does not allege that
  28 #Alive involved the production of a new motion picture. Plaintiff alleges only that

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   1 Defendants, purportedly using Netflix’s “dubbing prowess,” distributed a “dubbed
   2 and subtitled version of [#Saraitda].” Id. ¶ 32. Plaintiff’s allegations that the
   3 translation of #Saraitda created “competition from that motion picture [that]
   4 prove[d] injurious to the licensee” does not confer standing to bring a copyright
   5 claim. 3 Nimmer on Copyright § 12.02 (2021). To have standing, Plaintiff must
   6 allege that it holds an interest in translating #Saraitda and distributing the translated
   7 version. Plaintiff cannot plausibly make that allegation because, as demonstrated
   8 above, Naylor had already granted that right to the Korean Producers before
   9 granting any rights to Aridi.
  10         Second, Plaintiff makes the sweeping claim that it holds “all derivative
  11 rights” to the Devour screenplay, and assumes, without explanation or further
  12 allegation, that the right to translate #Saraitda must necessarily follow from those
  13 rights. Compl. ¶ 19. Specifically, Plaintiff contends that the Naylor/Zip Agreement
  14 “did not convey any derivative rights to the [Devour screenplay] to the Korean
  15 Producers,” and that any “new versions of Saraitda constituted unlawful derivative
  16 works.” Id. ¶¶ 4, 15; see also RJN Ex. A at 3 (“[E]ach dubbed version of the Film
  17 made and/or distributed by Netflix is a separate infringing act as a derivative work
  18 explicitly reserved by Naylor.”).
  19         As explained, this allegation cannot be squared with the presumption under
  20 Korean law that translation rights travel with production and distribution rights, and
  21 the indisputable fact that the Naylor/Zip Agreement did not expressly reserve
  22 translation rights to Naylor. Supra, pp. 8–12. Moreover, even if the right to
  23 translate #Saraitda were a “derivative right[]” under Korean law, the Naylor/Zip
  24 Agreement states that                                   Id. Plaintiff has not alleged
  25 that the right to translate #Saraitda was (contrary to Korean law) included in those
  26 frozen rights or that those rights were ever              such that Naylor could have
  27 transferred them to Aridi.
  28                                           * * *

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   1        Plaintiff has alleged an infringement of the right to translate #Saraitda, and so
   2 Plaintiff must allege that it owns that right to make out a claim for copyright
   3 infringement. Because Plaintiff has not made that allegation, the Complaint must be
   4 dismissed. And since Plaintiff cannot plausibly make that allegation, the Complaint
   5 should be dismissed without leave to amend. See, e.g., Pizzorno v. Draper, No. 17-
   6 00182-AB, 2017 WL 4712071, at *9 (C.D. Cal. July 7, 2017) (noting that a court
   7 “may deny leave to amend if the proposed amendment is futile or would be subject
   8 to dismissal”) (citing Carrico v. City & Cnty. of San Francisco, 656 F.3d 1002,
   9 1008 (9th Cir. 2011)).
  10        B.     If The Case Is Not Dismissed Under Rule 12(b)(6), The Court
                   Should Dismiss It Under The Doctrine of Forum Non Conveniens.
  11
  12        A district court may decline to exercise jurisdiction where litigation in a
  13 foreign forum would be more convenient for the parties. Gulf Oil Corp. v. Gilbert,
  14 330 U.S. 501, 504 (1947). A “primary purpose” of the doctrine is to “protect[ ] a
  15 defendant from … substantial and unnecessary effort and expense” which may
  16 otherwise result from trial in an inconvenient forum. Sinochem Int’l Co. Ltd. v.
  17 Malaysia Int’l Shipping Corp., 549 U.S. 422, 428 (2007); Piper, 454 U.S. at 248–
  18 249 (“[T]he central focus of the forum non conveniens inquiry is convenience.”)
  19        In determining whether to dismiss an action based on forum non conveniens,
  20 the court must consider (1) whether an adequate alternative forum exists; and (2)
  21 whether the balance of private and public interest factors favor dismissal. Id. at 254
  22 n.22, 257; Lueck v. Sundstrand Corp., 236 F.3d 1137, 1142–43 (9th Cir. 2001).
  23 Here, the Korean courts provide an alternative forum available to all parties,
  24 including Lotte and the Korean Producers, whom Plaintiff has not served, and who
  25 apparently are not subject to service in this country. And the balance of private and
  26 public factors weighs decisively for dismissal.
  27
  28

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   1               1.      The Republic of Korea Is An Adequate Alternate Forum
   2         At the outset, the Court must determine whether an adequate alternative
   3 forum exists. An alternative forum is deemed adequate if: (1) the opposing party is
   4 amenable to service of process there; and (2) the other jurisdiction offers a
   5 satisfactory remedy. Tuazon v. R.J. Reynolds Tobacco Co., 433 F.3d 1163, 1180
   6 (9th Cir. 2006). The adequacy of the alternative forum turns on the availability of
   7 the forum’s remedies and not procedural differences associated with the forum. A
   8 foreign forum therefore “will be deemed adequate unless it offers no practical
   9 remedy for the plaintiff’s complained of wrong.” Lueck, 236 F.3d at 1144.
  10         Netflix submits that the courts of the Republic of Korea provide an adequate
  11 alternative forum. Zip Cinema, Perspective Pictures, and Kakao Entertainment
  12 were all formed under the laws of the Republic of Korea, and are subject to service
  13 of process there. Netflix has a Korean presence (Chung Decl. ¶ 2) and, in any event,
  14 would consent to the jurisdiction of the Korean courts in the event that the Court
  15 dismisses this case. With this stipulation, the Korean courts will have jurisdiction
  16 over Plaintiff’s claims against all Defendants. The statute of limitations to seek
  17 damages for copyright infringement in Korea is ten years, or three years from the
  18 date that the Plaintiff learned of the infringement and the identity of the infringer.
  19 See Chung Decl. ¶ 7. Thus, Plaintiff has ample time to refile its complaint in Korea.
  20 The Korean courts are capable of adjudicating copyright infringement disputes, and
  21 the Korean copyright laws provide for remedies similar to those available in the
  22 United States, including damages and injunctive relief. See Chung Decl. ¶¶ 4, 6,
  23 Exs. A–D. Thus, the Korean courts provide an adequate alternative forum for
  24 Plaintiff’s claims.
  25         It makes no difference that this case involves copyright interests that Plaintiff
  26 contends arise under the laws of the United States, rather than under the laws of
  27 Korea. Korea is party to both the Universal Copyright Convention (U.C.C.) and the
  28 Berne Convention for the Protection of Literary and Artistic Works (Berne), which

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   1 collectively mandate a policy of reciprocity in which the creators of copyrighted
   2 works are afforded protection without regard to copyright’s country of origin. See
   3 U.C.C. Art. II; Berne, Art V(1); 5 Nimmer on Copyright § 17.01 (2021). For similar
   4 reasons, the Ninth Circuit recognized that Singapore was an adequate forum for a
   5 copyright dispute involving United States copyrights. See Creative Tech. Ltd. v.
   6 Aztech Sys. Pte. Ltd., 61 F.3d 696, 700–01 (9th Cir. 1995); see also Cabell v. Zorro
   7 Prods. Inc., No. 5:15-cv-00771-EJD, 2017 WL 2335597, at *5 (N.D. Cal May 30,
   8 2017) (finding Germany to be an adequate alternative forum for the resolution of a
   9 dispute involving works subject to United States copyright laws).
  10               2.     The Balance of Private and Public Interest Favors Dismissal.
  11         The presence of an American plaintiff “is not in and of itself sufficient to bar
  12 a district court from dismissing a case on the ground of forum non conveniens.”
  13 Cheng v. Boeing Co., 708 F.2d 1406, 1411 (9th Cir. 1983). And, while a plaintiff’s
  14 choice of forum is entitled to deference, that choice should not be given dispositive
  15 effect, and dismissal is proper, where a balance of conveniences suggests that trial in
  16 the chosen forum would be unnecessarily burdensome for the defendant or the court.
  17 Contact Lumber Co. v. P.T. Moges Shipping Ltd., 918 F.2d 1446, 1449 (9th Cir.
  18 1990). As applied here, the balance of private and public interest factors strongly
  19 favor suit in Korea.
  20                      (a)    Private factors.
  21         The private interest factors, which concern the “convenience [of] the
  22 litigants,” include “(1) the residence of the parties and the witnesses; (2) the forum’s
  23 convenience to the litigants; (3) access to physical evidence and other sources of
  24 proof; (4) whether unwilling witnesses can be compelled to testify; (5) the cost of
  25 bringing witnesses to trial; (6) the enforceability of the judgment; and (7) all other
  26 practical problems that make trial of a case easy, expeditious[,] and inexpensive.”
  27 Lueck, 236 F.3d at 1145–46 (citing Gulf Oil, 330 U.S. at 508.)
  28

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   1         The private interest factors collectively weigh in favor of Korea. While
   2 Plaintiff is located in the United States, see Compl. ¶ 7, three out of four of the
   3 Defendants are Korean entities that Plaintiff is attempting to serve in Korea,
   4 presumably because those entities lack a U.S. presence. See § II.E, supra. Netflix is
   5 the sole United States defendant, but the Complaint’s allegations suggest that
   6 Netflix has little independent evidentiary role in this case. The Complaint alleges
   7 only that Netflix “acquired international distribution rights in the Korean language
   8 film” from Lotte Entertainment, another Korean company, and that Lotte, in turn,
   9 “acquired whatever rights the Korean Producers possessed.” Compl. ¶ 28. As
  10 discussed above, a central issue in this case will be determining the scope of the
  11 rights possessed by the Korean Producers, from which all of the Defendants’ rights
  12 descend. Netflix maintains that Korea’s presumption that translation rights inhere in
  13 cinematization rights, and the absence of any express contrary stipulation in the
  14 Naylor/Zip Agreement, decide this question as a matter of law.
  15         Should the Court determine, however, that this issue requires additional
  16 factual development, including inquiry into the intent of the contracting parties,
  17 Netflix notes that the majority of witnesses and records with insight into those
  18 negotiations are located in Korea. This District lacks the power to compel the
  19 production or the appearance of such evidence and witnesses. See Fed. R. Civ. P.
  20 45(b)(2)(C). And, absent such authority, Netflix will be significantly prejudiced in
  21 preparing its defense, as even willing witnesses will have to suffer unnecessary
  22 inconvenience and expense of international travel. “[T]he central focus of the forum
  23 non conveniens inquiry is convenience,” and here, convenience favors litigation in
  24 Korea. Piper Aircraft Co., 454 U.S. at 248–249.
  25                      (b)    Public factors.
  26         With respect to the public interest factors, a court should consider: “(1) the
  27 local interest of [the] lawsuit; (2) the court’s familiarity with governing law; (3)
  28 burden on local courts and juries; (4) congestion in the court; and (5) the costs of

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   1 resolving a dispute unrelated to this forum.” Lueck, 236 F.3d at 1147. The public
   2 interest factors similarly weigh strongly in favor of litigating this dispute in Korea.
   3         As noted above, the Naylor/Zip Agreement is governed by Korean law, and
   4 both the Korean Producers and Naylor agreed to adjudicate disputes involving that
   5 agreement in the Korean courts. Korea has an evident interest in interpreting
   6 contracts governed by its laws. See Gates Learjet Corp. v. Jensen, 743 F.2d 1325,
   7 1336–37 (9th Cir. 1984) (acknowledging that a state “has a significant interest in
   8 interpreting its own laws.”). The Korean courts’ expertise in matters of Korean
   9 copyright law, as well as custom and practice relevant to the negotiation of Naylor’s
  10 agreement with the Korean Producers, collectively weigh in favor dismissal. By
  11 contrast, if the case remains in the Central District of California, the parties will be
  12 required to argue the proper application of Korean law and custom. Neither the
  13 Court nor the jury should be burdened with resolving such foreign law disputes. See
  14 Gulf Oil, 330 at 509 (acknowledging that dismissal is appropriate where it would
  15 permit a court to avoid having to “untangle problems in conflict of laws, and in law
  16 foreign to itself”); Piper Aircraft, 454 U.S. at 254 (“The doctrine of forum non
  17 conveniens … is designed in part to help courts avoid conducting complex exercises
  18 in comparative law.”).
  19         Finally, maintenance of this action in this district would impose significant
  20 costs on the Court and the local jury. According to statistics compiled by the
  21 Administrative Office of the U.S. Courts on behalf of the Federal Judiciary, as of
  22 September 30, 2021, there were 10,769 civil cases pending in this judicial district.
  23 See RJN Ex. G. Given Korea’s comparatively closer connections to this dispute,
  24 litigating the case in this district will only unnecessarily add to an already burdened
  25 docket.
  26         Because both the private and public interest factors weigh in favor of
  27 litigation in Korea, dismissal is warranted under the doctrine of forum non
  28 conveniens.

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   1         C.     Dismissal Is Also Warranted Because Plaintiff Failed to Join
                    Indispensable Parties.
   2
   3         The Complaint is additionally subject to dismissal for failure to join necessary
   4 parties: specifically, the Korean Producers and Lotte Entertainment, an entity that
   5 Plaintiff alleges “acquired whatever rights the Korean Producers possessed” in
   6 #Saraitda and conferred those rights to Netflix. Compl. ¶ 28. Plaintiff has not
   7 named Lotte as a defendant. And Plaintiff is currently attempting to serve the
   8 Korean Producers in Korea, which raises serious concerns both about whether such
   9 service will be successful and, if it is, whether those entities would be amenable to
  10 this Court’s jurisdiction.
  11         Rule 12(b)(7) directs dismissal if a pleading fails to join a “party under Rule
  12 19.” Rule 19(a), in turn, provides a framework for determining whether an absent
  13 party is necessary. A party is necessary, among other alternatives, if “that person
  14 claims an interest relating to the subject of the action,” and deciding the case would
  15 “as a practical matter impair or impede the person’s ability to protect the interest.”
  16 See Fed. R. Civ. P. 19(a)(1)(B). If the Court determines that a party is necessary
  17 pursuant to Rule 19(a), then the plaintiff must join that party if feasible. If joinder is
  18 not feasible, then the Court must consider whether the case may proceed in that
  19 party’s absence, or whether the party is “indispensable,” such that the equities
  20 require dismissal under Rule 19(b).
  21         As applied here, this analysis suggests that several Korean entities are
  22 necessary to the litigation, but are absent. The Complaint specifically alleges that
  23 four different Korean entities—Zip Cinema, Perspective Pictures, Kakao
  24 Entertainment and Lotte Entertainment hold or held the right to translate #Saraitda.
  25 And as noted previously, an adjudication of Plaintiff’s claim that Alive infringes
  26 Plaintiff’s rights would require a showing that Plaintiff, and not the Defendants, has
  27 the exclusive right to translate #Saraitda. Such a ruling would necessarily
  28 invalidate the various agreements held by the Defendants, and nonparty Lotte. Cf. 3

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   1 Nimmer on Copyright § 12.03 (2021) (“It would seem that joinder should occur if an
   2 issue is raised as to the validity of the copyright upon the rights of the persons to be
   3 joined, as well as those of the plaintiff, rest[.]”); Dawavendewa v. Salt River Project
   4 Agric. Improvement & Power Dist., 276 F.3d 1150, 1157 (9th Cir. 2002)
   5 (reaffirming the “fundamental principle” that “a party to a contract is necessary, and
   6 if not susceptible to joinder, indispensable to litigation seeking to decimate that
   7 contract”). Further, Plaintiff seeks in this litigation to enjoin all distribution of the
   8 translation of #Saraitda, and to redirect all profits to Plaintiff—remedies that would
   9 necessarily affect the absent Korean entities. See Prayer for Relief ¶¶ 1, 3.
  10         Deciding this case in these entities’ absence would necessarily impede their
  11 ability to protect their interests. For the reasons already noted, a central issue in this
  12 case will be whether the Naylor/Zip Agreement between the Korean Producers and
  13 Matt Naylor (and agreement governed by Korean law) conferred the right to
  14 translate #Saraitda, which Plaintiff has placed squarely at issue in this case. Netflix
  15 was not a party to that agreement. There is no reason to think that Netflix’s presence
  16 in this action will adequately defend the absent entities’ interests. The sound
  17 principles of Rule 19(a) therefore preclude Plaintiff from prosecuting this
  18 infringement suit without attempting to join these parties. See Wales Indus. Inc. v.
  19 Hasbro Bradley Inc., 612 F. Supp. 510, 517 (S.D.N.Y. 1985) (stating that where the
  20 validity of a copyright is challenged, all persons having an interest should be
  21 joined); 3 Nimmer on Copyright § 12.03 (2021) (“If a defendant in an infringement
  22 action raises as a defense a license from a third party, thereby raising as an issue the
  23 validity of the copyright held by such third party … such third party is an
  24 indispensable party in an action against the licensee.”).
  25         Where joinder is not feasible, a court must consider several factors in
  26 determining whether the party is “indispensable” and therefore the case cannot
  27 proceed in its absence. Joinder certainly appears to be infeasible with respect to the
  28 Korean Producers and Defendant Kakao. While Plaintiff may argue that it intends

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   1 to serve these entities, Plaintiff also refused to grant Netflix an extension of time to
   2 see whether Plaintiff can actually succeed in doing so. Plaintiff should not be
   3 permitted to moot Netflix’s joinder argument simply by forcing Netflix to proceed
   4 before Plaintiff can determine if the co-defendants are amenable to service in Korea.
   5         To determine whether dismissal is warranted, courts must consider (1) “the
   6 extent to which a judgment rendered in the person’s absence might prejudice that
   7 person or the existing parties,” (2) the extent to which “any prejudice could be
   8 lessened or avoided,” through protective measures; (3) whether a judgment in the
   9 person’s absence would be adequate, and (3) whether the plaintiff would have an
  10 adequate remedy if the action were dismissed for nonjoinder. Fed. R. Civ. P. 19(b).
  11         On balance, these factors favor dismissal. Netflix and the absent parties
  12 derive their copyright interests from the same source, and so judgment rendered
  13 against Netflix will necessarily invalidate the absent parties’ rights. Nor is it evident
  14 how this prejudice could be avoided through protective provisions in the judgment.
  15 Finally, Plaintiff would have an adequate remedy if the action were dismissed for
  16 nonjoinder. For the reasons discussed in connection with Netflix’s request for
  17 dismissal based on the doctrine of forum non conveniens, Plaintiff may file suit in
  18 the Republic of Korea, where all of the absent parties are located, and where Netflix
  19 consents to jurisdiction. See supra, at p. 14. Because Zip, Perspective, Kakao, and
  20 Lotte are indispensable parties, the case must be dismissed pursuant to Rule 19(b) if
  21 they cannot be joined to the litigation.
  22 IV.     CONCLUSION
  23         For the foregoing reasons, Defendant respectfully requests that the Court
  24 dismiss Plaintiff’s complaint.
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   1 DATED: February 2, 2022            MUNGER, TOLLES & OLSON LLP
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